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  8

  9
                               UNITED STATES BANKRUPTCY COURT
 10
                                CENTRAL DISTRICT OF CALIFORNIA
 11
                                         SANTA ANA DIVISION
 12

 13   In re:                                             Case No. 8:23-bk-10571-SC
 14   THE LITIGATION PRACTICE GROUP P.C.,                Chapter 11
 15            Debtor.                                   ORDER ON TRUSTEE’S EX PARTE
                                                         NOTICE OF NON-MATERIAL
 16                                                      MODIFICATION TO PROMISSORY
                                                         NOTE WITH ADDITIONAL LENDER AS
 17                                                      PART OF PREVIOUSLY APPROVED
                                                         POST-PETITION FINANCING
 18
                                                      Date: June 30, 2023
 19                                                   Time: 12:30 p.m.
 20                                                   Judge: Hon. Scott C. Clarkson
                                                      Place: Courtroom 5C
 21                                                          411 West Fourth Street
                                                             Santa Ana, CA 92701
 22

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 24

 25            On June 16, 2023, Richard A. Marshack, the Chapter 11 Trustee (the “Trustee”) for the

 26   bankruptcy estate (the “Estate”) of The Litigation Practice Group, P.C., in the above-captioned

 27   bankruptcy case filed a Notice of Motion and Emergency Motion (I) for Entry of Interim Order:

 28   (A) Authorizing The Trustee to Obtain Post-Petition Financing and Superpriority Administrative


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  1   Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final Hearing; and Pursuant to Final

  2   Hearing, (II) for Entry of Final Order Approving Post-Petition Financing on a Final Basis [Docket

  3   No. 119] (the “Financing Motion”). This Court heard the Financing Motion and On June 22, 2023,

  4   entered an Interim Order [Docket No. 131] granting the Financing Motion that, among other things,

  5   set a Final Hearing on July 20, 2023, authorized the Trustee to borrow up to $800,000.00 of Post-

  6   Petition Financing in advance of the Final Hearing, and gave the Trustee the authority to make non-

  7   material changes to the terms of the Post-Petition Financing in advance of the Final Hearing with

  8   notice.

  9             On June 29, 2023, the Trustee filed a Notice in the case that he would be using a lender

 10   different than the one identified in the Financing Motion to make advances over and above the

 11   amounts the original lender had already lent. Because the Estate required additional funding to

 12   make payroll and pay other necessary expenses, the Trustee reached out to third parties to identify

 13   a new third party willing to lend the balance of the funds to the Estate. One of these third parties

 14   was willing to lend to the Estate, and the Trustee filed the Notice advising of the Estate’s intention

 15   to execute a second promissory note with the new lender.

 16             In response to the Ex Parte Notice, the Court set the matter for hearing on June 30, 2023, at

 17   12:30 p.m. and required the Trustee to provide notice of that hearing. Notice was provided as

 18   ordered on June 29, 2023. The Court, having considered the Notice, all pleadings filed in support

 19   of, having heard oral argument, and good cause appearing including the reasons stated on the record,

 20   and in the Notice, the Court ordered as follows:

 21             IT IS ORDERED that:

 22             1.     The Ex Parte Notice is granted and Trustee may proceed with the identified

 23   replacement lender;

 24             2.     Trustee is authorized to borrow $560,000 from Liberty Acquisitions Group, Inc. or

 25   its assignee and execute the second Super-Priority Promissory Note (the "Additional Note")

 26   attached as Exhibit 2 to the Trustee’s Declaration;

 27             3.     Trustee shall file a declaration by 5:00 p.m. on Monday, July 3, 2023, that attaches

 28   a copy of the Note he executed in favor of the initial lender, Resolution Ventures, as well as a copy

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  1   of the Additional Note executed in favor of the replacement lender, Liberty Acquisitions Group,

  2   Inc.

  3          4.     There shall be no stay of this Order, pursuant to Rule 6004(h) of the Federal Rules

  4   of Bankruptcy Procedure (to the extent applicable) or otherwise;

  5          5.     The Court retains jurisdiction with respect to all matters arising from or related to

  6   the implementation of this Order.

  7          6.     The Final Hearing on post-petition financing is continued from July 20, 2023, at 9:30

  8   a.m. to August 10, 2023, at 10:00 a.m.

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 24 Date: July 3, 2023

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